Case: 1:02-cv-05623 Document #: 1 Filed: 08/08/02 Page 1 of 43 PagelD #:1

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AUG 0 8 2002
UNITED STATES DISTRICT COURT MICHAEL W. DOBBINS
NORTHERN DISTRICT OF ILLINOIS CLERK, U.S. DISTRICT COUI
DIVISION RACKETED
AUG 0 8 2002
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PD Rox 256092 ) Q2C 56 2 3
;
Elnsocon Peek GC -3 — “cavi. acrion |
(Name of the plaintiff or plaintiffs) Sa) JUDGE TAGE
)
Vv. } NO.
) (Case number will be supplied by the assignment
clerk)
Lowoln University ) MAGISTRATE JUDGE BOBRICK,,
)
ayo Ss. Hast Nenne 3
)
Wrrefiooop SL @DIS3 5
(Name of the defendant or defendants) )

COMPLAINT OF EMPLOYMENT DISCRIMINATION

1. This is an action for employment discrimination.

2. The plaintiffis edthen ies Grevas of
thecountyot___ COOK inthe state of ELL WOIS
3, The defendant is Lovol. Ys VERSr | _ who
resides at (street address) BVO S. First KYEDUE
Cin NSN POV (couny COOK Gate Tt ap) OS

(Defendant’s telephone number) ()08 - A | L,-9 OOO

 

 

(Guide to Civil Cases for Litigants Without Lawyers: Page 30)
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4) The plaintiff sought employment or was employed by the defendant at

(street address) A\GO D : biaak Avenité

(city) | | BY WweOD (county) CG. nk (state) To (ZIP code) lob IS 3

5. The plaintiff [check one box]
(a)L_| _was denied employment by the defendant.

)L_] was hired and is still employed by the defendant.

(bod was employed but is no longer employed by the defendant.

6. The defendant discriminated against the plaintiff on or about, or beginning on or about,

(month) & (day) , (year) \ Ags. Yaw \0/q CG and w
AAT AAS

7. (a) The plaintiff [check one box] [JTnas nol fled a charge or charges against the defendant
has
asserting the acts of discrimination indicated in this complaint with any of the following

government agencies:
(dd) Ef the United States Equal Employment Opportunity Commission on or about
month) ego Gay) (year) 9S

(ii) Pxine Hlinois Department of Human Rights on or about

 

  

 

Gayo ean

 

 

(b) ‘If charges were filed with an agency indicated above, a copy of the charge is

attached. Be(ves [ Jno

It is the policy of both the Equal Employment Opportunity Commission and the I]linois
Department of Human Rights to cross-file with the other agency all charges received. The

plaintiff has no reason to believe that this policy was not followed in this case.

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8. cayf_] the United States Equal Employment Opportunity Commission has not issued a

Notice of Right to Sue.

(by bot the United States Equal Employment Opportunity Commission has issued a

Notice of Right to Sue, which was received by the plaintiff on

(month) SUA (day) <d lo __ (year) AGC >| a copy of which Notice

is attached to this complaint.

9. The defendant discriminated against the plaintiff because of the plaintiff's [check all that
apply]
ope Age (Age Discrimination Employment Act).
o)L_] Color (Title VII of the Civil Rights Act of 1964 and 42 U.S.C. §1981).
(DL Disability (Americans with Disabilities Act)
a@_] National Origin (Title VII of the Civil Rights Act of 1964 and 42 U.S.C. §1981).
©L] Race (Title VJ of the Civil Rights Act of 1964 and 42 U.S.C. §1981).
(oL_] Religion (Title VII of the Civil Rights Act of 1964)

@pt Sex (Title VII of the Civil Rights Act of 1964)
= -—“T0. The plaintiff is sting the defendant, a state or local government ‘agency, for discrimination on’
the basis of race, color, or national origin (42 U.S.C. §1983). LJyves [Xno

11. Jurisdiction over the statutory violation alleged is conferred as follows: over Title VH claims

by 28 U.S.C.§1331, 28 U.S.C.§1343(a)(3), and 42 U.S.C.§2000e-5(f)(3); over 42
U.S.C.§1981 and §1983 by 42 U.S.C.§1988; over the A.D.E.A. by 42 U.S.C.§12117.

(Guide to Civil Cases for Litigants Without Lawyers: Page 32)
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Case: 1:02-cv-05623 Document #: 1 Filed: 08/08/02 Page 4 of 43 PagelD #:4

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12.. The defendant {check al] that apply]

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oyL]
3)
@LJ
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failed to hire the plaintiff.
terminated the plaintiff's employment. ne
failed to promote the plaintiff.

failed to reasonably accommodate the plaintiff's religion.

failed to reasonably accommodate the plaintiff's disabilities.

odd other
(specify): -Festen to wark with the plaiehFF

AS they kan done Wik other Displece

 

 

 

 

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Ethic oR PROFESSIONAL -
13. The facts supporting the plaintiff's claim of discrimination are as follows:

Ow o@ AROUND March alo Reporben ry
Supervisor, Kegicrs Lee WitUams, For. \NAPPROPRI ATE

(Guide to Civil Cases for Litigants Without Lawyers: Page 33)
Case: 1:02-cv-05623 Document #: 1 Filed: 08/08/02 Page 5 of 43 PagelD #:5

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FRom Louth athens pitemptep -to tue Eh Pas
AROUND ANO PAUSED OLA STIFF OF NARASS PED:

14. [AGE DISCRIMINATION ONLY] Defendant knowingly, intentionally, and willfully

discriminated against the plaintiff. N eS
7 dase has bees

O1NGe ON F068

15. The plaintiff demands that the case be tried byajury. [yes Bdno OSS eigud
| NAD LRERD

16. THEREFORE, the plaintiff asks that the court grant the following relief to the plaintiff g, S A }
[check all that apply] SENED

@L] Direct the defendant to hire the plaintiff.
| oL] Direct the defendant to re-employ the plaintiff.
@L] | Direct the defendant to promote the plaintiff.
aL] Find that the defendant failed to reasonably accommodate the plaintiffs religion.

(LI. _ Find that.the. defendant failed to reasonably accommodate the plaintiffs

disabilities.

aby Direct the defendant to (specify): Ad WY + +e} g | Lead L PAOD
pok wis Jowae ns OLA) WH rE APO Lo Ze to

‘ola OULE Yor +he on IS AMA SUEFERIN os

(Guide to Civil Cases for Litigants Without Lawyers: Page 34)
Case: 1:02-cv-05623 Document #: 1 Filed: 08/08/02 Page 6 of 43 PagelD #:6

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ron haps oF Dak Pap —rUL oF whom knve blael-beluer the
PLAIOHTF For EXERUSI EO, hee Legal/ GUL Riokds,

@bea If available, grant the plaintiff appropriate injunctive relief, lost wages,
liquidated/double damages, front pay, compensatory damages, punitive damages,
prejudgment interest, post-judgment interest, and costs, including reasonable
attorney fees and expert witness fees,

 

chy xT Grant such other relief as the Court may find appropriate.

yh s signature) \,,
aintiff's name) /
Loess Geepas

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PA Roy 350093 -Lyaconn Pb TL
city) Elwncop Pagk state) ary S707

(Plaintiff's telephone number) O63 - Na SSUlo

(Guide to Civil Cases for Litigants Without Lawyers: Page 35)
Case: 1:02-cv-05623 Document #: 1 Filed: 08/08/02 Page 7 of 43 PagelD #:7

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EMPLOYMENT DISCRIMINATION CASE

2%” CIVIL ACTION

KATHRYN M. GREVAS ) United States District Court
Plaintiff } Northern District of [inois

)

Vv. } Refiling of 98-C V-90078

) Previously Dismissed by
LOYOLA UNIVERSITY MEDICAL CENTER ) Honorable Judge Zagel
Defendant ) and the United States

) Court of Appeals for the

) Seventh Circuit

COMPLAINT

Plaintiff, Kathryn M. Grevas, Pro-Se, filed Charge #1998-CV-90078 against
Loyola University Medical Center with the Illinois Department of Human Rights because
Loyola violated my civil rights in allowing my former supervisor, Karen Lee Williams, to
sexually harass me, inflict emotional abuse, and then retaliate against me for having
reported her. Upon reporting Karen Lee Williams, Loyola retaliated against me by
reducing my position of Senior Secretary in Graduate Medical Education from full-time
five days (40 hours) per week to part-time three days (24 hours) per week in an effort to
force me to resign. In addition, Karen Lee Williams retaliated and gave me a poor
evaluation and wrote me up June 1996 in an attempt to prevent me from being
hired/transferred to another full-time position within other departments at Loyola. When
the pressure of the situation became too stressful and emotionally overwhelming, I opted
to resign and remove myself from the situation. I did not receive the support I needed
from Loyola’s Human Resource Department or Administrative Staff.

Karen Lee Williams or someone from Loyola was then vindictive and gave

information to my next employer (Elmhurst Memorial Hospital), who treated me just as
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Loyola had done...like a mental patient (Their Employee Assistance Manager referred
me to see a psychiatrist because I had been so damaged by what Karen Lee Williams had
been doing — see attached copy). As a result, my Dysthymia (Depression with
Anxiety/Panic Attacks, diagnosed in 1996)), turned into a full-blown major depression
that required hospitalization in 1999 and 2001, anti-depressants (previously Celexa &
Xanax — currently Zoloft 100mg/day) and counseling. My first filing of this case in
federal lawsuit was improperly handled by my previous attorney, Thomas B. Campagna
and second attorney Timothy J. Coffey and was subsequently dismissed. I am now
refilling and asking that this case be re-opened, as Loyola and it’s Credit Union have
since been harassing me and sending me information pertaining to their insurance (see
copies attached). I have not been a member of Loyola’s Credit Union since my departure

in 1996.

RELEVANT BACKGROUND

I had a valid and meritorious case against Loyola University Medical Center. The
failure for my appearance on April 12, 2000 was due to Attorney Thomas B. Campagna’s
failure to file the appropriate appearance on my behalf, as he had told me he would do in
our verbal agreement. I had also telephoned and spoke with Judge Zagel’s secretary,
Anne Wolfe, on Tuesday, April 13, 2001, informed her that my attorney had not filed his
appearance and that I was unable to attend. I asked Anne to reschedule. Anne informed
me that she would cancel my case for April 12, reschedule and send me a notification
with the new rescheduled date and time. Anne did not follow through as she had stated
and much to my surprise, I received a notice indicating my case was dismissed due to

failure of non-appearance by Thomas Campagna or myself. Upon dismissal, I filed my
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Request for Review dated April 26 (see copy attached). I failed to appear on April 12
because I was still recuperating from a series of two accidents and a severe reaction to my
pain medications, which I did present evidence of to Donald Walker and Judge Zagel on

May 4, 2000.

My Request to Review was approved and I appeared in Judge Zagel’s chambers
on May 4, 2000 at 10:15 AM as instructed. Loyola’s attorney, Richard F. Nelson was
present, however, denied having received my Request for Review, which was mailed to
him via certified mail on April 26 (see copy attached). Judge Zagel asked me if I had the
receipt with me and I informed him that I did not. Judge Zagel then told me that he was
interested in hearing what I had to say and would reinstate the case. Judge Zagel then
informed me that I should return to his chambers on May 10, 2000 at 10:15 AM to
present evidence that I did mail my request to Richard F. Nelson. As instructed I did
appeared on May 10 with the requested evidence, which Mr. Nelson had refused and/or
failed to pick-up (see copy attached). I also presented evidence to Donald Walker, Judge
Zagel’s Assistant, and Judge Zagel of my continuing problems with my ankle. The
evidence was reviewed with Mr. Nelson present. Upon reviewing all evidence, Judge
Zagel informed both Mr. Nelson and myself that he was reinstating the case and asked us
to return on June 27, 2000 at 10:00 AM. Mr. Nelson asked for 10:30AM and Judge
Zagel repeated 10:00 AM. I apparently wrote down 10:30 AM and forgot to correct

before leaving the chambers.

While in traffic in route to Judge Zagel’s chambers on June 27, I telephoned and
spoke with Anne Wolfe and informed her that I was tied up in heavy traffic and running

late. Anne informed me that session had begun at 10:00 AM, however, would relay my
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message to Donald Walker and ask that Richard F. Nelson be detained until I arrived.
When I arrived at Judge Zagel’s chambers, my case had already been called and Loyola’s
attorney had already left. Donald Walker then informed me that I could file a second
request for reconsideration to reinstate. As informed, I filed a second request for

reconsideration dated June 28, 2000 (see copy attached).

Several months went by and I did not receive a response to my second request. I
then filed a third request for reconsideration dated March 23, 2001 (see copy attached).
My request was denied for the reasons stated in the minute order of March 27, 2001.
Upon receipt of this notice, I contacted several departments and individuals, which gave
me a different court and address to appeal Judge Zagel’s minute order. Finally, I was
recently told that I needed to file my Request for Appeal of Judge Zagel’s Minute Order
of March 27, 2001 to the Pro-Se Division of the Clerk’s Office of the United States

. District Court, Northern District of [linois.

I did suffer a series of accidents (severe fracture of left ankle, metal plate inserted
to repair) on February 8, 2000 - re-injury of the same ankle while a passenger in the back
seat of an automobile that collided with another automobile on March 13, 2000 — and a
severe reaction to my pain medications on April 6, 2000, which resulted in a visit to the
Emergency Room. In addition, I was suffering from extreme physical exhaustion,
depression and anxiety/panic attacks. I was forced to take time off from my new position
to recuperate. Given the stress of three major traumas so close together, depression and
caring for my ill mother, I did loose track of time. Medical evidence of my continuing
emotional/mental disability of Depression is attached for your review. (see copies

attached).
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Loyola University Medical Center violated my legal right to work in a non-hostile
work environment when they allowed my then supervisor, Karen Lee Williams, to remain
in a position as overseer and emotional and physically abuse my personal being with her
inappropriate, unprofessional and unwanted behavior. When Loyola’s recruiters and
Sherron Glenn failed to place me in another full-time permanent position as promised, I
was forced into leaving Loyola. Loyola then gave information to my next employer,
Elmhurst Memorial Hospital and they treated me as a paranoid mental patient, which I
have been told, | began to act like. Elmhurst Memorial Hospital made up work
performance issues and terminated my employment on April 28, 1998, upon learning of
my complaint of discrimination filed with the Department of Human Rights against
Loyola. There was no way Elmhurst Memorial Hospital could have known about the
mistreatment inflicted upon me by my previous supervisor, unless of course, Loyola had
informed them. Upon termination with this employer, Loyola and Elmhurst Memorial
Hospital then proceeded to blackball me with my next employer, who blackballed me
with the next employer, Advocate Health Care, who then black-balled me to the next
employer, Village of Oak Park. As a result, I was terminated from the Village of Oak
Park on April 6, 2001 and was working as a sales associate making a mere $6 per hour,
until I was laid-off on July 16 due to the store being slow and poor economy. I was also

evicted from my apartment on Wednesday, July 3.

Loyola and their attorney apparently managed to manipulate my previous attorney
Thomas B. Campagna (just as they had done with Elmhurst Memorial Hospital, Advocate
Health Care and the Village of Oak Park), and frightened Thomas B. Campagna from

proceeding to represent me in Federal Court. My career has been greatly damaged by
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Loyola, as well as, my good name and reputation. I was not harassing Loyola, Karen Lee
Williams, Dorothy Jambrosik or Sherron Glenn when I attempted to be re-employed with
Loyola... that was just a direct act of retaliation by Loyola to try and discredit me or
intimidate me from proceeding with my lawsuit. Loyola advertises themselves as an
institution that treats the human spirit. My spirit was not treated well at all. In fact, my
spirit and desire to live were taken away from me. If it had not been for the support of

my mother and good friends, I probably would be dead today.

While I acknowledge and accept ownership of my neglect in this case, Thomas B.
Campagna, Richard F. Nelson, Anne Wolfe, Donald Walker, and Loyola University
Medical Center, and Timothy J. Coffey are equally to blame, as I was greatly
misinformed by all. I should not be penalized, nor should I have to sue Thomas B.
Campagna or Timothy J. Coffey for the poor execution of this case. I already paid my
$150 fee (see receipt copy attached), paid Timothy J. Coffey $100 to review and attempt

to settle this case, and relied upon the system to handle properly, which they did not.
CONCLUSION

Karen Lee Williams behavior was unwelcome, offensive and made me feel
uncomfortable, embarrassed, intimidated, insulted, angry and abused. My privacy,
dignity, self-esteem, confidence in my work, ability to concentrate, and peace of mind
suffered. It also made a condition where my employment interfered with my ability to
do my job and created a hostile, intimidating work environment for me. Karen Lee
Williams may not have intended to act in such a way, intended to offer or intimidate,

however, I did not like it and chose to report it. Karen Lee Williams behavior affected
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my physical and emotional health and interfered with my ability to perform my job
successfully. When I objected, I was given a not-so-favorable performance appraisal (see
copy attached), denied a promotion to Administrative Assistant, denied re-employment
full-time permanent in another Loyola Department, forced into resigning, and then black-

balled to my subsequent employers. I have been unfairly labeled.

I blew the whistle on Karen Lee Williams for sexual harassment (violating my
personal being), falsifying her timecard, playing Solitaire during work hours. I also
reported Dorothy Jambrosik for assisting Karen Lee Williams in her behavior and sick
cruel mind games towards myself. Karen Lee Williams behavior was determined to be
founded, because Loyola implemented corrective actions on Karen Lee Williams by
giving her a written warning, placing her on a three (3) month probation, took away her
Solitaire and other computer games, and placed Jean Holewa in a position of authority to
oversee Karen Lee Williams while I was still an employee in the Graduate Medical
Education Department. I was eventually forced to resign for reporting the illegal activity,
and blackballed by my subsequent employers for exercising my legal rights by filing a
complaint with the Illinois Department of Human Rights. I have often heard that

exercising such legal right does not follow you, but it does, did and stili docs.

In summary, I did nothing illegal or wrong, and did not deserve to be treated in
such a manner. Nor did I deserve to be denied re-employment under the Work Foree
Reduction Policy, lied on by Dorothy Jambrosik or accused of reverse harassment by
Karen Lee Williams, Dorothy Jambrosik, and Sherron Gienn as Loycia did. Karen Lec

Williams and Dorothy Jambrosik were bullies, and their bullying affected my health (see

copy of article attached, which explains the effects of bullying.)
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I, the Plaintiff, am asking that you re-open this case (as I was not previously
advised or informed of my legal right to re-file), and ask that you allow my LF.P. to
proceed with this matter and or settle for a reasonable amount as suggested previously by
Timothy J. Coffey of $15,000, or that the Court determine the proper settlement in this
case. Otherwise, I cannot move forward with my life or career until these emotional
issues and scars of the past at Loyola are resolved, and I be compensated adequately for
the emotional pain and suffering | was forced into enduring, which still affects me to this

date.

Respectfully submitted,

Kathryn M. Grevas
Plaintiff-Appellant

By: Ko thay noon

Kath ryn Mi! Grevas, Pro-Se

CERTIFICATE OF SERVICE
The undersigned, Pro-Se (not an attorney), certifies that a copy of the foregoing
Complaint was served upon the Defendant, Loyola University Medical Center, by
depositing the same in the United States Mail, with sufficient first-class postage on

Thursday, August 8, 2002.

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Kathkyn M!Grevas, Pro Se
 

  

 

 

 

 

  

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UNITED STATES DISTRICT COURT
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Case: 1:02-cv-05623 Document #: 1 Filed: 08/08/02 Page 16 of 43 PagelD #:16

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TimorHy J. COFFEY
ATTORNEY AT LAW
33 NORTH LASALLE STREET - SUITE 3300
CHICAGO, ILLINOIS 60602

 

FAX (312)364-9140
TELEPHONE 13121364-9000

June 5, 2000

Kathryn M. Grevas
7315 W. Fullerton Loe
Elmwood Park, IL 60707

RE: Claims Against Loyola University medical Center
Federal Case No. 99 C 7008

Dear Mr. Grevas:

Thank you for your time in meeting with me today to discuss your
present case against. Loyola.

This letter will conférm our agreement whereby you will leave your
documents with me so that I may review them and render an opinion
as to the value and merits of your case within seven (7) days.

This further confirms that you have agreed to pay me $100.00 for my
time in reviewing the materials and rendering an opinion.

Lastly, this confirms that I have taken possession of your
materials, and will. return them in same condition at the end of my
' raview.

Very truly yours,
JAY

Timothy Jf# Coffey, Esq.

   

TIC:map

AGREED APPROVED:

  
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Baw Orrice or Ricuarp F, NELSON

1965 NORTH HAREOR DRIVE, SUITE 3902
CHICAGO, ILLINOIS 60601-7635
TELEPHONE (322) 540-4730
~ FACSIMILE (312) 540-7980

 

June 24, 2000

VIA FACSIMILE

{312} 364-9140 |

Mr. Timothy 3. Coffey, sq.

Law Offices of Timothy J. Coffey

111 W. Washington Street, Suite 1720
Chicago, Illinois 60602. ,

>

Re: Grevas v. Loyola University Medical Center
Case Ne. 99 CV 07008-U.S. Dist. Ct., N.D. Ill.

Dear Mr. Coffey:

“This shall confirm your telephone conference with me of
June 13, 2900, wherein you advised me that although you Rave not
filed an attorney appearance on behalf of the plaintiff in the
above-referenced case you were advancing on ner behalf a $15, O00
settlement demand.

Please be advised that I relayed this settlement demand to
my client and it is rejected. My client is not inclined to
settle this matter and no settlement counter-offer is being
advanced. :

Since it is unclear to me your status of representation of
the plaintiff in this case at this time, I will assume that you
are acting as her attorney in regards to this settlement demand
and presume that you will communicate my client’s response tc
the settlement cemand and its settlement pesition to the
plaintiff directly. ,

Very truly yours,

Flee

Richard F, Nelson
Case: 1:02-cv-05623 Document #: 1 Filed: 08/08/02 Page 18 of 43 PagelD #:18

& AL EMPLOYMENT OPPORTUNITY COMMIS

eminhe | NOTICE OF RIGHT TO SUE

(Issued on request)

 

To: Kathryn Grevas From:
7315 W FULLERTON EQUAL EMPLOYMENT OPPORTUNITY COMM.
ELMWOOD PARK, IL 60707 Chicago District Office

. 500 W. Madison Street Suite 2800
(J On behalf of a person aggrieved whose identity is CONFIDENTIAL | Chicago, IL 60661~2511
(29 C.F.R. 1601.7(a) )

 

 

Charge Number / EEOC Representative - - me Telephone Number
218981571 | Nola Smith, S&L Coord. (312) 886-5973

 

 

 

( See the additional information attached to this form )} .

NOTICE TO THE PERSON AGGRIEVED:
Title VU of the Civil Rights Act of 1964 and/or the Americans with Disabilities Act (ADA): This ts your Notice of Right to Sue. It is
issued under Titke VII and/or the ADA based on the above-numbered charge. It has been issued at your request. Your lawsuit under

Title VII or the ADA must be filed in federal court WITHIN 90 DAYS of your receipt of this Notice. otherwise, your rignt to sue hased
on this charge will pe lost. (The time limit for filing suit based on a state claim may be different.)

More than 180 days have passed since the filing of this charge.

CI Less than 180 days have passed since the filing of this charge, but I have determined that if is unlikely that the FECC will be
able to complete its administrative processing within 180 days from tha filing of the charge.

[Xi The EEOC ts terminating its processing of this charge. , :

[_] The EEOC will continue to process this charge.

Age Discrimination in Employment Act (ADEA): You may sue under the ADEA at any time from 60 days after the charge was filed until
90 days after you receive notice that we have completed action on the charge. In this regard, the paragraph marked below
applies to your case: :

[CJ] the gk0¢ is closing your case. Therefore, your lawsuit under the ADEA mustbe filed in federal court WITHIN 90 DAYS of your
receipt of this Notice. otherwise, your right to sua based on the above-numbered charge will be lost.

CI The EEOC is continuing its handling of your ADEA case, However, if 60 days have passed since the filing of your charge, you
may Tile suit in federal or state court under the ADEA at this time.

Equal Pay Act (EPA): You already have the right to sue under the EPA (filing an EEGC charge is not required). EPA suits must be
brought in federal or state court within 2 years (3 years for willful Violations}--of the alleged EPA underpayment. This means
that backpay due for any violations that occurred More than 2 years (3 years} before you file suit may not be coilectible. ,
If you file suit based on this charge, please send a copy of your court complaint to this office.

On Behalf of the Commission

Wh L few... _ gb Ouby 1999

fronn P. Rowe, District Director (/ (Das

 

Enclosure(s)

ce: LOYOLA UNIV MEDICAL CTR
2160 $ FIRST AVE
MAYWOOD, IL 60153

 

 

 

EEOC Form 181-B ¢rev 01/97} CHARGING PARTV COBY
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MAME ffndicate Ar., Aa., Mere os . NOWE TELEPHON Code,
Kathryn Grevas 706-453-5098" *
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7315 West Fullerton “Elmwood Park, 111 60707 |. DATE OF ALATH

 

NAMEQ IS THE EWPLOYER, LABOR ORGANTZATION, EMPLOYMENT AGENCY APPRENTICESHIP COUNITTEE ,
STATE OR LOCAL GOVERNMENT AGENCY WHO OLSCAIMINATED AGAINST ME srr sore they coe ifat detow.)

 

 

 

 

 

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160 South First. Avenue me Maywood, Ill 60153 - OME ook
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THE PAATICULARS ARE /I/ addisienal space is aveded, atsaen entre savectaiir

Ie A. ISSUE/ BASIS 7 7
‘al. FAILURE TO REHIRE ON OR ABOUT ‘DECEMBER oF 1997 IN.
RETALIATION FOR HAVING COMPLAINED ABOUT. SEXUAL: HARASSMENT.

B, PRIMA FACIE ALLEGATIONS
l. On March 11, 1996, I complained to Patricta Moten
Marshall, Associate Vice President, that jmy supervisor,
Karen Williams was, sexually harassing, me. ;

2. In June of 1996, I took a work force reduction and
went into Respondent's float pool which I resigned | from |
on October 7, 1996. ; -

3. I was a satisfactory employee performing the, job: duties
ot of a senior secratary in a manner that was conéistent with
Respondent 's standards. I was hired: in December of 1993.
¥

4, On er about December of 1997, I applied for rehire. The
reason given by Mary C. Denigsienko, Executive Director,
Human Resources, for the the failure to re-hire, was
because I refused to follow instructions regarding proper
‘procedures in the employment process.-

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Continued,..mfip

  
   

 

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narge No. 1998CF gud |
/Kathryn Grevas
‘Page 2
5. The failure to re-hire me followed my complaints of
sexual harassment, thus, raising the inference of a
retaliatory motivation. -

MFP/DAB/abm

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= Complete items 1, 2, and 3. Also complete
item 4 if Restricted Delivery is desired.

@ Print your name and address on the reverse
so thal we can return the card to you,

™ Attach this card to the back of the mailpiece,
or on the front if space permits.

 

 

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: PS Form 3814, July 1999

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Inter-Office Comm*™ ication oo om
LOYOLA
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ergy
TO: Kathy Grevas
FROM: Karen Lee Williams HW
DATE: April 3, 1996

Effective June 3, 1996 the Senior Secretary position in
Graduate Medical Education will become a Regular Part-Time

(.6 PIE: 24 hours/week) position.

Benefits for a Part-Time position are listed in the
Employee Handbook, which is attached. If you have any
questions concerning this position or the benefits,

please contact Sherron Glenn, Human Resources 216-9408.

 
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: Inter-Office Communication
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' TO: Karen Lee Williams
Administrator
Graduate Medical Education
. FROM: Kathy crevas Lo
“Senior Secretary
Graduate Medical Education
DATE: = April 10, 1996

This memo is written as a follow-up to your memo dated
April 3 (see attached copy), regarding the change in
status of my present full-time position. f understand
that effective June 3, 1996 my position of Senior
Secretary here in Graduate Medical Education will be
reduced from a 1.0 FTE to that of a regular part-time
permanent, .6 FTE, 24 hours per week/48 hours per pay
period position.

I have read and understand the benefits as outlined for
this reduction in status in the Employee Handbook. tf am
informing you that T will be happy to continue on as a
full-time employee until June 3, then accept the regular
part-time .6 FTE, 24 hours per week status change. I have

days (16 hours per week) to work within the temporary
Secretarial float pool here at Loyola. I will follow-up

ce: Sherron Glenn, Human Resources
Natalie Kaliterna, Human Resources
Patricia Moten Marshall, Healthcare Services
Case: 1:02-cv-05623 Document #: 1 Filed: 08/08/02 Page 26 of 43 PagelID #:26 . _

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TO: | Patricia Moten Marshall
Healthcare Services

FROM: Kathy Grevas ee
Graduate Medical Education

 

DATE:. April 16, 1996

Since our meeting last week, I feel that things have gotten somewhat
better as far as communication with Karen. However, I still feel
uncomfortable, and | know that once the trust is gone and the
_damage has been done, it takes a lot of work to make it a workable
situation once again... I’m trying. | have now started to put
everything in writing to Karen, so that there is no way that she can
come back and say that 1 am not communicating with her or keeping
her abreast of things.

Instead of being treated treated as a seasoned, competent
professional, | feel as though | am being treated as if | were a
no-brain entry level employee. | don’t feel as though Karen trusts my
ability to do my job or to represent the department. | feel as though ©
Karen is nit-picking and finger-pointing every little error at me. | will
accept responsibility for whatever | have done, however, | don’t feel
as though I should have to accept responsibility for someone else’s
errors.

Also, | feel as though | am being treated as a child by having to write
Karen notes to tell her when | am going to the bathroom, cafeteria,
‘run errands, etc. 1 have always told Karen where § was going and
what | was doing. Karen just never paid attention to me when |
spoke with her. It disturbs me to be treated the way | am, and I’m
having a little difficulty with that. .

At times, it’s extremely difficult to put a smile on your face and put
your best foot forward when you feel as though someone is gunning
for you and your work is going unappreciated or sabotaged, and your
hopes to stay on with Loyola are being threatened.
eS Bs i,

 
 

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INTER-OFFICE COMMUNICATION
LOYOLA UNIVERSITY MEDICAL CENTER

DATE: - June 11, 1996
TO: KathyGrevas
FROM: Patricia Moten Marshall...“2%-:

Associate Vice President, Healthcare Services
and Hospital Director

SUBJECT: Concerns Expressed
in view of the many meetings we have had in the past months, ! would like to
take this opportunity to provide a recap regarding one of your concerns.

On March 11, 1996 you came to me and expressed several concerns regarding
the performance of Karen Williams, your supervisor (timecard issues, use of

- work hours, communication issues). You requested that | keep this discussion
. confidential. | informed you that in order to investigate the concerns further, |

would need to discuss your concerns with Karen, and therefore divulge to her
that you had brought these issues to my attention. You asked for an opportunity
to think about your decision. os 2

On March 45, 1 996 you came to me and stated that you were willing to 5 allow me
to investigate your concerns referenced above. | completed the investigation .
and met with you on March 18, 1996. ! communicated that appropriate actions
had been taken regarding your concerns and | considered the investigation’ ©
closed.

  

However, at that time, you expressed additional concerns. At this time, for the
first time, you stated that Karen had sexually harassed you. You identified two
occurrences which you felt were sexual harassment. In a memo to me you _
described these two occurrences as follows: “The incidents with me where
Karen exhibited inappropriate and unprofessional behavior...handing me the
payroll box making weird noises and saying “that’s what happens when | get
excited”, and the incident with the pizza box where she was standing behind me
and grabbed and held onto my waist area.” . . .

 
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You stated that you would .
you would conti .
there was a nue to document occurrences j “
have not interpreted any ad ; a this nature that you would contact me os new
onal incidents as “sexual h ,
| afassment’.

SCUSSiONsS With you to communicate that based on

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your subsequent reflectio
: N and feedback
appropriat ; cK to me on March
Pnae closure to an investigation regarding sexual haresement "Brought

 

 
Case: 1:02-cv-05623 Document #: 1 Filed: 08/08/02 Page 29 of 43 PagelD #:29

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__ INTER-OFFICE COMMUNICATION
- LOYOLA UNIVERSITY MEDICAL CENTER.

 

DATE: | June 11, 1996
TO: | Kathy Grevas
FROM: Patricia Moten Marshall 24...

Associate Vice President, Healthcare Services
and Hospital Director

SUBJECT: _Elligibility for Severance

Last week you contacted Sherron Glenn in Human Resources and inquired
whether you could again be considered for a severance package, considering
your position was reduced from fuil time to a part time, 48 hour per pay period,
position. This was an option originally offered when you were advised your
position’s hours were reduced. You refused the option at that time.

. Sherron contacted me and we agreed that we would again allow you to consider
this option, since you had only moved to the part time position beginning June
3rd, and you wanted to reevaluate your original decision.

In order to bring closure to this option period, | ask that you make your decision
by the end of the work day June 17. Please contact Sherron Glenn and
communicate your decision.

Please do not hesitate to Jet me know if you have any questions.
Case: 1:02-cv-05623 Document #: 1 Filed: 08/08/02 Page 30 of 43 PagelD #:30

Pt. .FORMANCE COUNSELING REPORT

 
 
    

fexperiencing work Me fomance’ issues.

Employee identification:

 

Employee Name_(47#44~ bones. Date: 6/4 fre

Job Title Seaven SeeneTaeg Department: _Gatnetk Ment thacet ~

A. IDENT IFY PERFORMANCE DEFICIENCY
Explain specific areas that need itiprovement.
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B. | ACTION PLAN TO CORRECT THIS DEFICIENCY
Describe plan, indicating employee and supervisor roles.

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bata Entng - 3 halt dogs ofro,nie te. Pra or des ly scat.

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C. DATE SET FOR REVIEW OF PROGRESS
This section is to be completed after the review date.

D. FOLLOW-UP EVALUATION
Describe result of the action plan on 1 employee’ s performance.

 

Note improvement —_

 

Note Lack of Improvement

E. INDICATE NEXT LEVEL OF ACTION TO BE TAKEN

_,. Signatures: | ARTY CAIAS AEFUSED 7b
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Supervisor Zeer lable: Employee = Senay
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2160 South First Avenue

LOYOLA. | : rst
z - Maywood, Illinois 60153
INIVERSITY | Telephone: (708) 216-9000

   
 
 

Loyola University Chicage
~ October 21, 1997

Ms. Kathryn M. Grevas
7315 W. Fullerton
- Elmwood Park, IL 60707

Dear Ms. Grevas:

This is in response to your letter to John Kambanis, your subsequent, September 27th letter and
phone calls to me. I have conducted a thorough review of your employment file and the manner
in which you have handled your application process. Your file reflects a voluntary resignation
from the Float Pool effective October 7, 1996..

You have been advised by individuals in the Department of Human Resources regarding the
proper employment application process. Notwithstanding being provided that information, you
have presented yourself in person in your former department and have also made numerous
telephone calls to Human Resources and your former department. Based upon my review of your
record and your refusal to follow instructions regarding proper procedures in the employment
:process, I must inform you that you will not be considered for employment.

You are requested to immediately cease contacting medical center departments, including Human
Resources, in person and by phone. Your failure to adhere to our request will be viewed as
harassment on your part. Your cooperation will be appreciated.

Sincerely,

Mary C. Denisienko _
Executive Director
Human Resources

 
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me . _ ; “ a TRIE. ee “anaes PES emer,

 

ovember 6, 1997

Ms. Mary C. Denisienko

-Executive Director, Human Resources — |
LOYOLA UNIVERSITY MEDICAL CENTER
2160 South First Avenue .

Maywood, Illinois 60153 .

 

Dear Ms. Denisienko:,

I received your letter dated October : 2 (see « copy attached) via certified mail, and would
like to take this s opportunity to discuss it’s content.

Yes, t did resign from the F loat Pool o on 1 October 1, 1996. Upon the work force reduction in
Graduate Medical Education, I went into the Float Pool with a verbal agreement by .
Sherron Glenn that I would be considered and/or interviewed for other full-time positions ©
within the institution during my employment i in the pool.. As instructed by Sherron, I
submitted numerous applications to Human Resources and Edie Runion. I received no
interviews. While on my last’ assignment in Anesthesiology, I contacted Natalie Kaliterna
and asked her if she had any other assignments lined up for me upon completion of the .
assignment in Anesthesiology. Natalie informed me that she had none. J also checked with
Edie Runion to see if she had any interviews lined up for me and, again, I was told no.

 

Given this, being single and self-supportive i in need of benefits, I decided to accept the offer...

extended. to me for a full-time permanent position at Elmhurst Memorial Hospital. My
desire was not to leave hoyolas ,

Yes, I did 1 present myself to my former department once around September. I had been
told that Karen Williams was leaving Loyola, and had stopped by with a gift for her to say

_ good-bye and wish her well. I, however, did not get to see her. I was told by Dorothy in Dr. 5 °°

Vertuno’ s office that Karen had left two weeks prior and that Jean was busy, therefore, I
was not able-to leave the gift. I stopped by in an attempt to. make amends with Karen at
Sherron’s previous suggestion.

I have also made numerous telephone calls to stress my desire to return to Loyola, not with
the intent to harass. During one of these telephone calls, I spoke with Sherron and was
taken back by her rude and inappropriate manner. Sherron seemed to be having a very
bad day, snapped at me and told me that I should not limit myself to Loyola if I were
seeking employment. She then hung up on me. I was shocked by her seemingly cold and
- inhuman attitude, given her position as Director of Human Resources. ©

Mary, I do not wish to burn any bridges with Loyola and would like to express my
sincerest apologies. J would, however, like to ask that you reconsider my request for

_ employment in the future.

Thank you for taking time from your busy schedule to read my letter. Your reply to this
request would be greatly appreciated. —

Sincerely, ee

Kathryn M. Grevas
 

 
 
 
 
  
 
  

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7 .

January 12, 1998

Ms. Mary C. Denisienko

Executive Director, Human Resources

Loyola University Medical Center

2160 South First Avenue, Bidg 201, 4" Floor
Maywood, Illinois 60153

Dear Ms. Denisienko:

This letter is written as a follow-up to my letter to you dated September 6, 1997, and your letter
dated October 21, 1997 (see attached copies), and would like to explain further.

As you know, I was employed with Loyola University from December 1993 until my voluntary
resignation from the Float Pool effective October 7, 1996, I had been employed in Graduate
Medical Education full-time until June of 1996, when my position was reduced to a part-time:
status working three days a week. Being single and self-supportive and in need of a full-time
position with benefits, I opted to take the work force reduction with a verbal agreement from
Sherron Glenn that I would be interviewed and considered for other full-time positions with
Loyola. While in the Float Pool, I submitted several applications and received no interviews.
While on my last-assignment in Anesthesiology, Natalie Kaliterna informed me that she had no
additional assignments lined up for me. I also checked with Edie Runion, who was the
secretarial/clerical recruiter at the time. Once again, Edie informed me that she had no
interviews lined up for me. Given this, I accepted a full-time permanent position with benefits at
Elmhurst Memorial Hospital.

In your letter of October 21, you stated that I presented myself and made numerous telephone
calls to my former department. I wish to inform you that the information you stated is incorrect.
Since my departure from Graduate Medical Education, I made only two telephone calls: once
around November 1996 to speak with Jean Holewa and Karen Lee Williams to say “hello” and to
inform them that I was now working in the Surgical Services Department at Elmhurst Memorial,
the second time was quite sometime later after Karen had already left Loyola to ask Jean if she
had received my application & resume for re-employment consideration. I did not make any
visits to my former department as stated., in fact, I made none after my departure into the Float
Pool, except-around September 1997 when I stopped by in hopes to say goodbye to Karen and
was greeted by Dorothy and informed that Karen had already left Loyola. Dorothy did not allow
me to speak with Jean. I believe someone deliberately gave you incorrect information, just as I
believe I was sabatoged and set-up for failure because I reported my former supervisor, Karen
Lee Williams for inappropriate and unprofessional behavior. I also believe my good name and
reputation has been slandered by either Karen Lee Williams, Dorothy Janrosik or Sherron Glenn.
T also believe that one or more of these individuals may be attempting to block me from being
able to return to Loyola. Perhaps, Sherron does not want to admit that she handled the situation
improperly or admit that she was wrong?

As you requested, I will abide by your wishes to stop contacting Human Resources by phone or
in person. However, I would like the opportunity to restore my good name, reputation and
credibility, which has been greatly damaged and currently at stake. I would also like to request
an appointment to come in and meet with you to discuss these issues further. A timely response
this letter is being requested. Thank you.

 

 
 

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Case: 1:02-cv-05623 Document #: 1 Filed: 08/08/02 Page 36 of 43 PagelD #:36

 

 

 

 

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FROM *
Mangcer _ Statement of
Loyola University EFCU | _ Benefits Enclosed

Maywood IL 60153-3304

 

DATE May 3, 2002 Enrollment period extended to: June 10, 2002

TO eee ee eRUTONE 3-DIGIT 607
Kathryn M. Grevas
7315 W Fullerton Ave.
Elmwood Park IL 60707-2620
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Extra Member Benefits —
No Extra Cost* |

MESSAGE An audit of our Accidental Death & Dismemberment Insurance was.
recently conducted by the Plan Administrator. Your current
Statement of Benefits is enclosed. ;

Plan records show that you have no additional coverage beyond
~the $1,000 insurance provided to you at no charge by Loyola
University EFCU.

An open enrollment period is underway through June 10, 2002.
During this time, CUNA Mutual Insurance Society has agreed to
permit currently insured Members age 18 and over to add to
their no-cost coverage. Each additional $10,000 of coverage
costs just gi. 10 per month!

Up to—oreners now have an opportunity to add up_to $300, 000 of
additional protection to their no cost coverage. And this
$300, 000 serious protection for serious times includes enhanced

benefits at no extra.cost.
additional, a | ;
If you want to get this coverage and extend it to your
protection! eligible family members, just fill out and mail the enrollment
form on your statement. Premiums will be automati€alily
deducted from your account every three months. I that
convenient !

 

      
  
  
 
  
 
  
  
 
 
 
 
 
 

We trust that by strengthening your financial se
this group coverage can give you added peace of,
and in the future. For more information regar
Credit Union Member insurance protection, call.
at 1-800-356-6006. ae.

Sincerely,

Harold }. Tram

Harold J. Tram .

Manager

P.S. Open Enrollment Period Ends June 10, 209
sure your coverage is in effect by August
your completed enrollment form right away

* See enclosed Notice for details about unique benefi®

counseling, available at no cost with additional pF

Net-tsoslindo2FU The insurance offered is not a deposit and is not ins
or guaranteed or underwritten by your credit union.

 

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Case: 1:02-cv-05623 Document #: 1 Filed: 08/08/02 Page 37 of 43 PagelD #:37

 

 

 

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FROM Harold J. Tram .
Manager Statement of
Loyola University EFCU | Benefits Enclosed

Maywood IL 60153-3304

 

DATE april 19, 2002

JOC ARTO 3-DIGIT 607
TO Kathryn M. Grevas ;
7315 W Fullerton Ave.
Elmwood Park IL 60707-2620
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During this time, CUNA Mutual Insurance Society has agreed to
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their coverage. Hach additional $10, 000 of coverage costs ju

Si. 10 per month!

 

Upto —y Members now have an opportunity to add up to $300, Q00 of
additional protection to their no cost coverage. And this
$300, 000 serious protection for serious times includes enhanced

benefits at no extra cost.
additional
If you want to get this coverage and extend it to you
protection’ eligible family members, just fill. out and mail the enrollment
form on.your statement. Premiums will be automatically
deducted from your account every three months. It’s that
convenient!

 

 

We trust that by strengthening your financial securit
this group coverage can give you added peace of mind
and in the future. For more information regarding th;
Credit Union Member insurance protection, call toll
at 1-800-356-6006.

   
  
   
   
 

Sincerely,

Aaold j. Taam

Harold J. Tram
Manager

P.S. Open Enrollment Period Ends June 1, 2002. To m

sure your coverage is in effect by August l, 2

your completed enrollment form right away.

* See enclosed Notice for details about unique benefits, si

, counseling, available at_no cost with additional protects
1161-1906(0402) The insurance offered is not a deposit and is not insured
or guaranteed or underwritten by your credit union,

 
  
   

: 1:02-cv-05623 Document #: 1 Filed: 08/08/02 Page 38 of 43 PagelD #:38

; niversity | EFCU
Imports Member Offer

ar Raat
Members-Only Offer

Katheyn M. Grevas
7315 W Fullerton Ave.
- Elmwood Park, [L 60707-2620

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Dear Kathryn M. Grevas,

Tt may have been a long time since you’ve seriously reviewed your need for life insurance protection.
Many of us carefully grow our savings but ignore our insurance portfolios only to lose it all when an
unexpected death leaves our loved ones reliant upon a single income.

Or maybe you think you already have enough life insurance. Did you know that many experts
recommend a level of coverage that is five to ten times your current salary? * This important
tule of thumb applies equally to women and men, husbands and wives.

Thar’s why Loyola University EFCU is pleased to make available to Members and spouses a quality
term life insurance product underwritten by CUNA Mutual Insurance Society. This insurance plan offers:

* Affordable Member rates up to 30% lower than before + Up to $100,000 of coverage for you
* A discount for non-tobacco users * Up to $100,000 of coverage for your spouse
NEW + Convenient, automatic payment method ‘ NEW + Easier to complete application form

. Credit Union Members and their spouses between the ages of 18 and 59 are now encouraged to apply for
$50,000 up to $100,000 of this level term life insurance which continues to age 70.

And for added security, you (and your spouse) can also take advantage of $25,000 Accidental Death
Protection at affordable group rates. This valuable optton provides an additional $25,000 in benefits for death
from a covered accident.”

One more thing, there’s no risk or obligation. After you're accepted and your first premium i is paid, you'll
have a full 30 days to decide if this coverage is right for you. You may cancel anytime within the 30-day
period, and any premium paid will be refunded to you.

We expect response to be heavy for this “Members-only” offer. So, please complete and mail the enclosed
application promptly to help us speed processing and give you immediate consideration for coverage. Remember
that a well-balanced insurance portfolio is part of a well-rounded financial plan.

Gu

Keith Tlapa
Executive Director, Credit Union Member Services
Licensed Insurance Representative

Sincerely,

PS. Give your insurance portfolio the attention it deserves. Apply for the life insurance you need by August 10, 2001.

* This recommendation xepresents the sum total of all life insurance policies. Although this policy offers coverage amounts up to
$100,000, it can provide an excellent supplement to other policies you hold. .
#* Accidental Death Protection is not available in Vermont.

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Case: 1:02-cv-05623 Document #: 1 Filed: 08/08/02 Page 39 of 43 PagelD #39,

 

    
  
  
   
   
   
    
  
    
 
    
 
 
    
   
   
     
  
  
  
  
 

 

 

 

 

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FROM Harold J. Tram Lo .
Manager Statement of

Loyola University EFCU Benefits Enclosed
Maywood IL 60153-3304 ;

 

 

DATE May 4, 2001

Enrollment period extended to: June 10, 2001

Ax KEKKKATTOX*X ALL FOR AADC 606
TO Kathryn M. Grevas

7315 W Fullerton Ave.

Elmwood Park IL 60707-2620

MESSAGE

An audit of our Accidental Death & Dismemberment Insurance was
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Plan records show that you have no additional coverage beyond

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An open enrollment period is underway through June 10, 2001.
During this time, CUNA Mutual Insurance Society has agreed to
permit currently insured Members age 18 to 69 to add to their
coverage. Each additional $10,000 of coverage costs just $1.10
per month! ©

If you want to get this coverage and extend it te your
eligible family members, just fill out and mail the Additional
Protection enrollment form on your statement. Premiums will be
automatically deducted from your account every three months.
ft’s that convenient!

We trust that by strengthening your financial security,
this group coverage can give you added peace of mind today
and in the future. For more information regarding this
Credit Union Member insurance protection, call during the
week, toll-free at 1-800-356-6006.

Sincerely,

Harold J. Tram

Harold J. Tram
Manager

P.S. Open Enrollment Period Ends June 10, 2001. To make sure
your coverage is in effect by August 1, 2001, mail your
completed enrollment form right away.

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Case: 1:02-cv-05623 Document #: 1 Filed: 08/08/02 Page 40 of 43 PagelD #:40

 

 

 

 

WPLEASEREPLY —*] PLuASE FILE |] OTHER _
FROM yarold J. Tram oo
| Manager Statement of

Loyola University EFCU Benefits Enclosed
Maywood IL €¢0153-3304 ee oO,

 

DATE April 20, 2001

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TO Kathryn M. Grevas

7315 W Fullerton Ave.

Elmwood Park IL 60707-2620

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Sincerely,

Harold J. Tram
_ Manager

P.S. Open Enrollment Period Ends June 1, 2001, To make sure
your coverage is in effect by August 1, 2001, mail your
‘completed enrollment form, right awa)

  

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HEARING

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IT USED TO BE?

More than 25 million Americans have some form of hearing loss, Unfortunately, since
the symptoms are so subtle, many don’t know they suffer from it. Make sure you're not
one of them. Come by one of our hearing discussions for a free screening and to ask a
physician any questions you may have. To set tup a free screening, call 888- LUHS-888,

 

 

LOYOLA
ROCK OF AGES BAPTIST CHURCH g Z UNIVERSITY SOUTHWEST SUBURBAN CENTER ON AGING
1309 Madison Avenue, Maywood, IL, 60153 < S HEALTH EM 111 Harris Street, LaGrange, IL 60526 |

Thursday, July 13. — noon-3 p.m, coe LoyolaUniversityChicago FP Rursday, July27 - ~ noon-~3 p-m.
   

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Loyola unwasiey preg Cv-05628 ~~ i 1 Filed: 08/08 aay 4° RagelD #:43

Lock in your low insurance rate before you turn 46

» Coverage for the rest of your life

Kathryn M. Grevas > Your first month's premium is just $1
7315 W Fullerton Ave . ;
Elmwood Park, IL 60707-2620 : No medical exams required

LaMderDvavdccadLDeaeTacaleaDabsdDessabedMoeabsfeabed socal ll

Dear Kathryn M. Grevas,

As a member of the Loyola University EFCU, you could now qualify for a,;Members® Whole Life Plan with
low monthly premiums that are valid until you turn 46, The policy from CUNA Mutual Insurance Society is
designed to help your family (or anyone you love) when you're not there to provide for them. Here’s how it
works:

Get up to $10,000 coverage

Just choose an amount from the list below, This money can help your loved ones pay for extra costs,
like funeral expenses, tuition or bills. Plus, under current tax Jaws, the cash amount they will receive
is income-tax free.

Enjoy jow monthly premiums

Your rate will not increase as long as you sign up before you turn 46. That's right around the corner!

You are guaranteed lifetime protection ;

Unlike other plans that end at a certain age, your coverage continues for your entire life as long as your
premiums are paid, It works in addition to any insurance you currently carry and your benefit amount will
never go down. oy ; ‘
Just mail back the form below .
There are no long forms to fill out, no health exams and your coverage CANNOT be cancelied by anyone but
you. So why wait? Just mail back the form below to start this valuable coverage. Besides, as you grow older,

  

 

 

 

 

 

 

 

 

 

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i" APPLICATION FORM ror MemBers® WHOLE LIFE INSURANCE [| premium Rates*
PLEASE PRINT: R coma coe eee i (Until you turn 46)
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7315 W Fullerton Ave 0000 2591 72704 02055762 2QWLO1 CU01229178 rhs Coverage
Elmwood Park, IL 60707-2620 02012002 MN1000008772946 PCSI you pay $20.61 smo.
$8,000 coverage
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| wish to apply for the amount of insurance checked below: you pay ¥|2.90;mo.
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eae $4,000 coverage
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Social Security # ,
Beneficiary Name(s) Relationship(s} $2,006 coverage
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you pay $5, [9 /mo.
PLEASE ANSWER THESE QUESTIONS: ‘Rates for this coverage differ

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or illness? rate is Incorrect, your actual
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dependent diabetes, stroke, paralysis, heart condition (except high blood pressure), cancer, kidney
faiture, lupus, chronic obstructive pulmonary disease (COPD) or emphysema, liver disorder, AIDS or

 

 

AIDS Related Complex, menta! disorder or disorder of the brain or spinal nerves, alecholism or To apply

excessive use of alcoho/? 1. Choose the amount
Chyes 1 Ne Be you want the automatic premium foan provision! of desired coverage.
Cl Yes] No Will coverage applied for replace, discontinue, or change any life coverage or annuities? 2. Fill out the form, date
All statements and answers made in this application are full, complete and true to the best of my and sign?"

knowledge and belief. This application will be the basis of any insurance issued. | understand that: (1} benefits may 3. Mail with $1 in the

 

 

 

be denied during the first 2 years from the effective date if | fail to give true and complete answers in the application; postage paid

and (2) no insurance will take effect unless: (a) my application is approved, and a certificate is issued by the company: envelope.

(b)} the full first premium is received by the company within 2! days of the effective date of the certificate and while ** Additional Beneficiaries: Please

the applicant(s} is {are} alive; and (c) there has been no change in health or insurability from the. date of this include a separate sheet with

application to the effective date of coverage. footie von dgeine date and
x Approval is based upon the

BlOf- 029- 13972000) APPLICATION FORM — 2QWL01 infotmation provided it the

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This insurance is not a deposit and is not insured by NCUSIF or guaranteed or underwritten by your credit union.

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